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7                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
8                                          AT SEATTLE
9     UNITED STATES OF AMERICA,
10                  Plaintiff,                               Case No. CR07-218RSL
11           v.                                              ORDER DENYING MOTION TO
12                                                           SEVER
      ROTIMI TALLMAN,
13                  Defendant.
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            This matter comes before the Court on defendant Tallman’s “Motion to Sever” (Dkt.
15
     #40). He seeks to sever his trial from co-defendant Green pursuant to Federal Rule of Criminal
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     14 based on the prejudicial spillover effect of evidence that is admissible as to Green, but not to
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     him. For the reasons discussed below, defendant’s motion is denied.
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            It is well established that “there is a strong preference in the federal system for joint
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     trials.” United States v. Decoud, 456 F.3d 996, 1009 (9th Cir. 2006). A “joint trial is
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     particularly appropriate where the codefendants are charged with conspiracy, because the
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     concern for judicial efficiency is less likely to be outweighed by possible prejudice to the
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     defendants when much of the same evidence would be admissible against each of them in
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     separate trials.” United States v. Fernandez, 388 F.3d 1199, 1242 (9th Cir. 2004). Thus, a court
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     “should grant a severance under Rule 14 only if there is a serious risk that a joint trial would
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     compromise a specific trial right of one of the defendants, or prevent the jury from making a
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     reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 539 (1993).
     Defendant has not established that there is a serious risk that a joint trial would compromise a

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1 specific trial right or prevent the jury from making a reliable judgment about guilt or innocence.
2 The use of “careful and frequent limiting instructions to the jury, explaining how and against
3 whom certain evidence may be considered, can reduce or eliminate any possibility of prejudice
4 arising from joint trial.” Id. at 1243. Defendant has not offered a compelling reason why such
5 limiting instructions would not be equally effective in this case. See United States v. Joetzki,
6 952 F.2d 1090, 1094 (9th Cir. 1991) ( “A defendant seeking severance based on the ‘spillover’
7 effect of evidence admitted against a co-defendant must also demonstrate the insufficiency of
8 limiting instructions given by the judge.”). Defendant’s motion to sever (Dkt. #40) is therefore
9 DENIED.1
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11          DATED this 4th day of September, 2007.
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                                                  A
                                                  Robert S. Lasnik
15                                                United States District Judge

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              The Court only addresses defendant’s motion to sever in this order. The admissibility of
     particular statements is not currently before the Court.

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